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                                        7

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                                                                        UNITED STATES DISTRICT COURT
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                                                                            FOR THE STATE OF NEVADA
                                       10
                                             NORMA HERMINIA CANON, individually,              Case No.: 2:24-cv-00137-GMN-MDC
                                       11
                                                                    Plaintiff,                JOINT STIPULATION AND ORDER FOR
                                       12                                                     EXTENSION OF TIME TO RESPOND TO
Evans Fears Schuttert McNulty Mickus
 6720 Via Austi Parkway, Suite 300




                                             vs.                                              COMPLAINT
                                       13

                                       14    SAHARA HOTEL & CASINO, TK                        (First Request)
       Las Vegas, NV 89119




                                             ELEVATOR CORPORATION, f/k/a
                                       15    THYSSENKRUPP ELEVATOR
                                             CORPORATION, a Foreign Corporation,
                                       16    SCHINDLER ELEVATOR
                                             CORPORATION, a Foreign Corporation;
                                       17
                                             DOE EMPLOYEES 1-XX; DOES 1-XX,
                                       18    ROE CORPORATIONS 1-XX, inclusive,

                                       19                           Defendants.

                                       20
                                                   Pursuant to LR 6-1 and 6-2, Defendant Schindler Elevator Corporation (hereinafter,
                                       21
                                            “Schindler), and Plaintiff Norma Herminia Canon (“Plaintiff” and with Schindler, collectively the
                                       22
                                            “Parties”) by and through their respective counsel, hereby respectfully requests the below extension
                                       23
                                            of time for Schindler to respond to the Complaint.
                                       24
                                                   1.       This action was initially filed on November 3, 2023 in the District Court of Clark
                                       25
                                            County, Nevada, bearing Case No. A-23-880932-C. Schindler was served on December 19, 2023,
                                       26
                                            and removed this action to this Court on January 19, 2024.
                                       27
                                                   2.      The Complaint seeks to hold Schindler liable for negligence and negligent hiring,
                                       28
                                            training, supervision and/or retention.
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 1            3.      Pursuant to Federal Rule of Civil Procedure 81(c)(2)(C), Schindler’s responsive

 2   pleading is due January 26, 2024.

 3            4.      Good cause exists for an extension of a responsive pleading deadline for Schindler

 4   through and including February 28, 2024. An extension would not result in prejudice to any party

 5   if granted.

 6            5.      Plaintiff expressly reserves, and does not waive, any rights she may have to seek

 7   remand of this matter back to state court.

 8            6.      Counsel for Schindler met and conferred in good faith with counsel for Plaintiff,

 9   who agreed to the requested extension for the simple purpose of providing more time to respond to

10   the complaint.

11            7.      The other parties to this matter, TK Elevator Corporation and Las Vegas Resort

12   Holdings, LLC, d/b/a Sahara Las Vegas have separate agreements with Plaintiff for open-ended

13   extensions to respond to the complaint once exposure, if any, is determined.

14            8.      This stipulation will stay the deadline for the discovery planning conference and

15   filing of the Discovery Plan and Scheduling Order as required by Federal Rule of Civil Procedure

16   26(f).

17            WHEREFORE, the Parties respectfully request the Court enter an order granting an

18   extension of a responsive pleading deadline for Schindler as set forth above, through and including

19   February 28, 2024.

20          IT IS SO STIPULATED.
      Dated: January 26, 2024.                          Dated: January 26, 2024.
21

22    EVANS FEARS SCHUTTERT                             SPRENZ LAW
      MCNULTY MICKUS
23
      /s/ Jay J. Schuttert                              /s/ Kevin A. Sprenz
24    Jay J. Schuttert, Esq. (SBN 8656)                 Kevin A. Sprenz, Esq. (SBN 7924)
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      Attorneys for Defendant
27    Schindler Elevator Corporation

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 1                                            ORDER
 2    The parties must submit Stipulated Discovery Plan and Scheduling Order in compliance with LR
 3   26-1 by no later than April 15, 2024.

 4

 5         IT IS SO ORDERED.

 6

 7                                             Maximiliano D. Couvillier III
 8                                             UNITED STATES MAGISTRATE JUDGE
                                               DATED: January 31, 2024
 9                                             Case No.: 2:24-cv-00137-GMN-MDC
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